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                        Exhibit A

                     Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


  In re                                                         Chapter 11

  WASHINGTON MUTUAL, INC., et al.,1                             Case No. 08-12229 (MFW)

                    Reorganized Debtors.                        Ref. Docket No. ___



 ORDER GRANTING EMERGENCY MOTION OF WMI LIQUIDATING TRUST TO
  REOPEN THE CHAPTER 11 CASE OF WASHINGTON MUTUAL, INC. FOR THE
   LIMITED PURPOSE OF (I) ENFORCING THE EXCULPATION, INJUNCTION,
 RELEASE, AND DISCHARGE PROVISIONS OF THE DEBTORS’ JOINT CHAPTER
    11 PLAN AND CONFIRMATION ORDER AND (II) IMPOSING SANCTIONS

          Upon the emergency motion, dated June 4, 2021 (the “Motion”)2, of WMI Liquidating

Trust (the “Trust”), pursuant to sections 105 and 350(b) of title 11 of the United States Code (the

“Bankruptcy Code”), and Rule 5010 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), for entry of an order (this “Order”) reopening the Chapter 11 Case of

Washington Mutual, Inc. for the limited purpose of adjudicating the Motion to Enforce and

obtaining the relief sought therein; and the Court having found that the Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference,

dated February 29, 2012; and the Court having found this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2), and this Court may enter a final order consistent with Article III of the United

States Constitution; and the Court having found that venue of this proceeding and the Application

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that



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   The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, were: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The
Reorganized Debtors had a former address of 1201 Third Avenue, Suite 3000, Seattle, Washington 98101.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.
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the relief requested in the Motion is in the best interests of the Debtors, their estates, their creditors,

and other parties in interest; and the Court having found that the Trust provided adequate and

appropriate notice of the Motion under the circumstances and that no other or further notice is

required; and the Court having reviewed the Motion and having heard statements in support of the

Motion at a hearing held before the Court (the “Hearing”); and the Court having determined that

the legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and any objections to the relief requested herein having been withdrawn or

overruled on the merits; and after due deliberation and sufficient cause appearing therefore,

        IT IS HEREBY ORDERED THAT:

        1.      The Chapter 11 Case of Washington Mutual, Inc., Case No. 08-12229 (MFW), is

hereby reopened pursuant to 11 U.S.C. § 350(b) for the limited purpose of adjudicating the Motion

to Enforce and matters directly related thereto.

        2.      The Trust is hereby authorized to file the Motion to Enforce in the above-captioned

case.

        3.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




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